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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                               8:14CR409

       vs.
                                                    MEMORANDUM AND ORDER
DILANG DAT,

                    Defendant.


       This matter is before the Court on the Defendant’s Motion to Alter or Amend

Order, ECF No. 347, in which the Defendant asks the Court to reconsider its Order,

ECF No. 343, denying, without prejudice, his pro se Motion to Vacate under 28 U.S.C.

§2255, ECF No. 342 (the “§2255 Motion”).        In the Court’s Order, it was noted that

Defendant Dilang Dat (“Dat”) was represented by retained counsel who was actively

engaged in the proceedings.      Dat’s retained counsel has since filed a motion to

withdraw, and that motion has been granted. Accordingly, the Court will grant Dat’s

Motion to Alter or Amend, and will deem Dat’s pro se §2255 Motion resubmitted and

timely filed.

                  FACTUAL AND PROCEDURAL BACKGROUND

       Dat pled guilty to Count XIII of the Superseding Indictment, charging him with a

violation of 18 U.S.C. § 1951.    The Court accepted Dat’s guilty plea and the plea

agreement, in which the parties stipulated to a sentence of 78 months incarceration,

and a term of supervised release to be determined by the Court, pursuant to Federal

Rule of Criminal Procedure 11(c)(1)(C).      In the plea agreement, the parties also

stipulated that Dat participated in the robbery of a KFC that was the subject of Count

XIV of the Superseding Indictment and that his conduct in connection with Count XIV

would be considered for purposes of determining the applicable guideline range and
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restitution as if he had entered a plea of guilty to Count XIV, although both Count XIV

and County XVIII of the Superseding Indictment would be dismissed as to Dat at the

time of the sentencing.     In the plea agreement, Dat waived his right of appeal and

collateral attack, except with respect to claims of ineffective assistance of counsel, or

circumstances in which the Supreme Court or the United States Court of Appeals were

to determine that the charge to which Dat pled guilty did not constitute a crime.

       On June 20, 2016, Dat was sentenced to a term of 78 months incarceration and

three years of supervised release. He was also ordered to pay restitution in the amount

of $1,821.25, and a special assessment of $100.00. Judgment was entered on June

20, 2016.

                                      DISCUSSION

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

               The judge who receives the motion must promptly examine it. If it
       plainly appears from the motion, any attached exhibits, and the record of
       prior proceedings that the moving party is not entitled to relief, the judge
       must dismiss the motion and direct the clerk to notify the moving party. If
       the motion is not dismissed, the judge must order the United States
       attorney to file an answer, motion, or other response within a fixed time, or
       to take other action the judge may order.


       In his § 2255 Motion, Dat raises three grounds for relief. First, he contends that

his retained counsel was ineffective for failing to inform him that he could suffer

deportation consequences as a result of his guilty plea. Second, he contends that his

retained counsel was ineffective for failing to move to suppress evidence in connection

with a search leading to his arrest and prosecution. Third, he contends that his retained
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counsel was ineffective for failing to object to the imposition of restitution related to the

KFC robbery.

       In order to establish ineffective assistance of counsel, Dat must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

Ground One: Counsels’ Alleged Failure to Advise of Immigration Consequences

       Dat’s Plea Agreement, ECF No. 214, which he signed and dated on March 9,

2016, contains the following statement: “Defendant acknowledges that there are or may

be collateral consequences to any conviction to include but not limited to immigration . .

. .“ Id. at Page ID 679. Dat was asked the following question in his Petition to Enter a

Plea of Guilty, ECF No. 213, Page ID 667: “Do you understand that . . . in most federal

felony cases, if you are not a U.S. citizen your guilty plea will result in your permanent

removal from the United States?” Dat marked the response, “Yes.” He signed and

dated the Petition on March 11, 2016. At the time of his plea, on March 14, 2016, he

confirmed under penalty of perjury that all the answers in his Petition were truthful. He

also stated, under oath, that he was aware of the fact that his conviction in this case

could affect his immigration status.    Accordingly, the Court finds Dat’s first ground for

relief to be without merit.

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Ground Two: Counsel’s Failure to File a Motion to Suppress

       Dat does not fault his retained counsel for the failure to file a motion to suppress.

He notes that she was on the case for a short time before Dat decided to enter his guilty

plea, and he did not ask her to file any motion to suppress.         Instead, Dat faults his

earlier court-appointed counsel for the failure to file a motion to suppress.

       At the time of Dat’s plea, he acknowledged, under oath, that he understood he

was giving up his right to challenge the manner in which the government obtained its

evidence against him, including the manner in which he was searched or questioned.

The Court finds that Dat knowingly and voluntarily waived any objections or complaints

regarding his former counsel’s alleged failure to file a motion to suppress.

       The Court also finds that any failure on the part of counsel to file a motion to

suppress did not prejudice Dat’s defense.          As Dat acknowledges, his three co-

defendants, Emmanuel Chaplain, Shane Seizys, and Thomas Jones-Ross, all moved to

suppress evidence leading to their arrest and prosecution.        The motions of Chaplain

and Seizys concerned the search of the Mustang vehicle, and seizure of evidence

within that vehicle, that Dat now contends his court-appointed lawyer should have

contested through a motion to suppress.          The Court accepted the Findings and

Recommendation of the Magistrate Judge regarding the motions to suppress, and

denied the motions.       See Findings and Recommendation, ECF No. 145, and

Memorandum and Order, ECF No. 161, which the Court incorporates herein by

reference.

       The only fact that differentiates Dat from his co-defendants Chaplain and Seizys

with respect to the merits of any motion to suppress is the officers’ seizure of the

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Mustang key from Dat’s possession. Dat acknowledges that the officers had ample

grounds to conduct a stop and frisk of his person under Terry v. Ohio, 392 U.S. 1, 30

(1968). He contends, however, that the officers did not have probable cause to believe

the key was incriminating evidence. He refers the Court to United States v. Craddock,

841 F.3d 756 (8th Cir. 2016), in which the Court of Appeals found that an officer did not

have probable cause to associate a key fob with criminal activity when the officer

stopped and frisked an individual standing on a sidewalk in the vicinity of a stolen

vehicle.

       The record of the hearing on the Chaplain and Seizys motions to suppress

shows that officers stopped Dat, Seizys, and Chaplain within three minutes of the KFC

robbery, because they matched the general description of the robbers and were found

in the area where witnesses said the robbers had fled. Chaplain ran from the officers,

but Dat and Seizys were placed on the ground and searched.             Over $200.00 in

crumpled currency was found in Dat’s pocket, as well as the key. Similar crumpled

currency was found on Seizys. The key matched the Mustang vehicle near the KFC

that witnesses had seen the robbers access to change shirts after the robbery.

       The facts available to the officers at the time of the search would lead a person

of reasonable caution to believe that there was probable cause to associate the key with

criminal activity, and that the key was useful as evidence of a crime. See Craddock,

841 F.3d at 759. The facts also demonstrate that the investigation would have led to

the discovery of evidence within the Mustang by other lawful means, even if the key had

not been seized from Dat. Accordingly, the inevitable discovery doctrine applies. Id. at

760.

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      Accordingly, the Court finds Dat’s second ground for relief to be without merit.

Ground Three: Counsel’s Failure to Object to Restitution for KFC Robbery

      Although Dat pled guilty only to Count XIII of the Superseding Indictment, his

Plea Agreement provided: “Defendant agrees to admit and stipulate to the conduct

charged in Count XIV of the Superseding Indictment as though a plea of guilty had been

entered for purposes of determining the applicable advisory guidelines imprisonment

range and restitution.”   ECF No. 214, Page ID 677.         “[T]he defendant although not

entering a plea of guilty agrees and stipulates that he participated in the following

robbery: a. Count XIV – KFC.” Id. at Page ID 678. “The Defendant acknowledges

restitution will be ordered as part of the sentence in this case, and the Defendant agrees

the Court may order restitution to all persons or establishments for loss or harm directly

and proximately caused by the Defendant’s relevant conduct regardless whether that

person or establishment is a victim of the offense of conviction.         As such, it is

understood the Defendant will be ordered to pay restitution to the following persons or

establishments: Game Stop, 9959 Redick Circle [and] KFC, 7601 No. 30 th Street [and]

A.K., an individual known to the defendant and the probation office through discovery.”

Id. at Page ID 680.

      In his Petition to Enter a Plea of Guilty, Dat acknowledged that he understood the

judge was required to take into account all conduct, circumstances, and injuries

associated with his criminal conduct, whether or not the conduct was charged by the

government in the crime to which he was pleading guilty.        At the time of Dat’s plea

hearing, counsel for the government reiterated the fact that Dat agreed to stipulate to

the conduct charged in Count XIV as though he had pled guilty to that charge, for

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purposes of the imposition of restitution. Dat acknowledged that agreement under oath.

At the time of sentencing, restitution was imposed for the amounts of loss related to

Count XIII and Count XIV of the Superseding Indictment, per the Plea Agreement and

consistent with the calculations presented in the Presentence Investigation Report and

the Sentencing Recommendation. Dat was given an opportunity to address the Court

on any matters related to the sentencing, including restitution, and he stated, “No, there

is nothing further, your Honor.” ECF No. 338, Page ID 2252, lines 6-9.

      In the Judgment, the restitution was apportioned among the victims of Count XIII

and Count XIV in accordance with the victims’ respective losses. Dat was given credit

for amounts recovered by law enforcement, and such payments were also apportioned

among the victims in accordance with the amounts of their losses.            His restitution

obligation was made joint and several with his two co-defendants involved in the

robberies that led to the charges in Counts XIII and XIV of the Superseding Indictment.

      Accordingly, the Court finds Dat’s third ground for relief also lacks merit.

                                     CONCLUSION

      Dat has not satisfied either the performance prong or the prejudice prong of

Strickland v. Washington, 466 U.S. 668 (1984). He has failed to demonstrate that his

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. He has also failed to demonstrate that counsel’s performance

prejudiced his defense.


      IT IS ORDERED:


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      1.     The Motion to Alter of Amend, ECF No. 347, filed by Defendant Dilang

      Dat, is granted;

      2.     The Court deems the Defendant’s Motion to Vacate, Set Aside, or Correct

      his Sentence Pursuant to 28 U.S.C. § 2255, ECF No. 342, to be resubmitted and

      timely filed;

      3.     The Defendant’s Motion to Vacate, Set Aside, or Correct his Sentence

      Pursuant to 28 U.S.C. § 2255, ECF No. 342, is summarily dismissed;

      4.     A separate Judgment will be entered; and

      4.     The Clerk will mail a copy of this Memorandum and Order to the

      Defendant at his last known address.

      Dated this 21st day of August, 2017.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge




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